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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the
Gulf of Mexico, on
April 20, 2010 Section: J

This Document Relates to: Judge Barbier
Mag. Judge Shushan

2:10-cv-08888-CJB-SS

QRDER ON MOTION TO WITHDRAW

Pursuant to a Motion to Withdraw filed on or about July 31, 2012 it is hereby
ordered that counsel Alex Peet is permitted to withdraw from representation of Retreat

Investments, Inc., Doc. No. 40377.

Date:

United States Magistrate Judge
